A0442         Case 3:16-cr-00798-WQH Document 81 Filed 12/28/17 PageID.145 Page 1 of 1


                                    United States District Court
                                           SOUTHERN DISTRICT OF CALIFORNIA


               UNITED STATES OF AMERICA
                                                                                    WARRANT FOR ARREST
                                   v.
                                                                                      4''S'" lift M
                                                                                Case Number:
                                                                                                       f
                                                                                                  l 6-cr-00798-WQH
                        Nicolas James Peters


                                                                               -Ne' reR r~BLIC Vlli'•V
   To:       The United States Marshal
             and any Authorized United States Officer

           YOU ARE HEREBY COMMANDED to arrest                                             Nicolas James Peters
                                                                                                       Name

   and bring him or her forthwith to the nearest magistrate to answer a(n)

    D    Indictment    D   Information    D   Complaint   D   Order of Court    D   Violation Notice


    ch                     r with brief descri tion ofoffense):

                  FILED
                      DEC 2 8 2:017
            CLERK US DIS !RIC l COURT
         SOUTHERN DISTHICT F CALIFORNIA
         BY                       DEPUTY

    In violation of Title- - - -
                               See
                                 . Above                   United States Code, Section(s)
                                                                                                ~----------~



    John Morrill                                                     Clerk of the Court
    Name of issuing Officer                                          Title of Issuing Officer


    s/ L. Cervantes                                                  12/22/2017, San Diego, CA
    Signature of Deputy                                              Date and Location


    Bail fixed at $                      No Bail                     by              The Honorable William Q. Hayes
                                                                          --------------------
                                                                                Name of Judicial Officer


                                                                  RETURN
    This warrant was received and executed with the arrest of the above-named defendant at

    DA TE RECEIVED                  NAME AND TITLE OF ARRESTING OFFICER                   SIGNATURE OF ARRESTING OFFICER

    DATE OF ARREST
